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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

STACY SIMONSON,                     )
                                    )
           Plaintiff,               )
                                    )
     V.                             )     NO. 3: 19-CV-00442
                                    )
KILOLO KIJAKAZI ,                   )     (MARIANI J.)
Acting Commissioner of              )     (MEHALCHICK, M.J.)
Social Security,                    )
                                    )
           Defendant.               )     [FILED VIA ECF]

                                  ORDER

On Motion of Plaintiff for attorney's fees pursuant to § 206(b)(1) of the
Social Security Act, 42 U.S.C. § 406(b)(1 ), it is hereby ORDERED as
follows. The Court authorizes additional payment in the amount of
$16,980.75 in attorney's fees being withheld from Plaintiffs past-due
benefits and/or Plaintiff's past-due auxiliary benefits for court related
services to Patrick J. Best, Esq. , 18 N. 8th St. , Stroudsburg, PA 18360.
These fees shall supplement the fees authorized by Order on August 13,
2021 and the Order dated August 13, 2021 shall remain in full force and
effect.
